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 1 S. FRANK HARRELL – SBN 133437
     sharrell@lynberg.com
 2 TAMARA M. HEATHCOTE – SBN 193312
     theathcote@lynberg.com
 3 LYNBERG & WATKINS
     A Professional Corporation
 4 1100 Town & Country Road, Suite 1450
     Orange, California 92868
 5 (714) 937-1010 Telephone
     (714) 937-1003 Facsimile
 6
     Attorneys for Defendants, REALTY ONE GROUP, INC.
 7 and JIHUI (LUCKY) LUO

 8

 9
                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11

12
     SHUANG YING (NANCY) ZHANG,              CASE NO. 5:19-cv-00887-VAP-KK
13
                                             Assigned to:
14               Plaintiff,                  Hon. Virginia A. Phillips – Ctrm 8A
15
           vs.                               DEFENDANTS REALTY ONE
16                                           GROUP, INC. AND JIHUI (LUCKY)
                                             LUO’S FIRST AMENDED ANSWER
17 A-Z REALTY & INVESTMENT                   TO COMPLAINT, CROSS-CLAIM
     CORP., a California corporation;        AND DEMAND FOR JURY TRIAL
18 DONGYAN (ANNIE) ZHENG, an
     individual; JENNIFER WHELAN, an
19 individual; REALTY ONE GROUP,
     INC., a California Corporation; JIHUI   Complaint filed: May 10, 2019
20 (LUCKY) LUO, an individual; SHI
     DAN CHEN, and individual; MING-
21 WING LAM, an individual; FU LONG
     ZHENG, an individual; and DOES 1-
22 30, inclusive,

23
                 Defendants.
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     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1         COME NOW, Defendants REALTY ONE GROUP, INC. and JIHUI
 2 (LUCKY) LUO (“Defendants”) answering Plaintiff’s Complaint on file herein, for

 3 themselves alone and for no other Defendants, admit, deny and allege as follows:

 4         1.    In answering paragraphs 6, 12, 13, 63, 64, 65, 66, 67, 68, 70, 72, 73,
 5 these answering Defendants admit these allegations.

 6         2.    In answering paragraphs 5, 50, 74, 76, 77, 78, 79, 80, 81, 88, 89, 90,
 7 91, 92, 93, 94, 95, 96, 97, 98, 99, 105, 106, 107, 108, 109, 110, 111, 112, 113, 114,

 8 115, 1(2),1 2(2), 3(2), 4(2), 5(2), 6(2), 7(2), 116, 118, 119, 120, 121, 122, 123, 124,

 9 125, 126, 127, 128, 129, 130, 131, and 132 these answering Defendants deny

10 generally and specifically, each and every allegation contained therein.

11         3.    In answering paragraphs 1, 2, 3, 4, 7, 8, 9, 10, 11, 14, 15, 16, 17, 18,
12 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40,

13 41, 42, 43, 44, 45, 46, 47, 48, 49, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 69, 71,

14 75, 117, these answering Defendants do not have sufficient information or belief to

15 enable them to answer said paragraphs at this time, and on that ground, deny each

16 and every allegation contained therein.

17                          FIRST AFFIRMATIVE DEFENSE
18         4.    Any injury or damage suffered by Plaintiff was caused solely by reason
19 of Plaintiff’s own wrongful acts and conduct and not by reason of any unlawful act

20 or omission of these Defendants. Any injury to Plaintiff was due to and caused by

21 his/her own negligence and failure to act with reasonable care, which carelessness,

22 negligence and omissions were the proximate cause of the damage, if any, to

23 Plaintiff. Any damages awarded in this action should therefore be in direct

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         The allegations of the Eighth Claim for Relief start with paragraph “1.” This
   answer will refer to these allegations as paragraphs “1(2),” “2(2),” 3(2),” “4(2),”
28 “5(2),” “6(2),” and “7(2).”
                                                1
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1 proportion to the fault of these Defendants, if any, as provided by California Civil

 2 Code §§1431 to 1431.5.

 3                        SECOND AFFIRMATIVE DEFENSE
 4        5.     Plaintiff willingly, voluntarily and knowingly assumed each, every and
 5 all the risks and hazards involved in the activities referred to in the operative

 6 Complaint. These Answering Defendants are not liable for injury or damages, if

 7 any there were, because Plaintiff was aware of the dangers and risks with respect to

 8 the alleged actions, and did knowingly, and voluntarily, and freely assume and

 9 expose him/herself to said known risks, which assumption of the risk caused and/or

10 contributed to the alleged damages sought by Plaintiff herein, therefore barring

11 Plaintiff from recovering any relief from these Answering Defendants.

12                          THIRD AFFIRMATIVE DEFENSE
13        6.     The damages allegedly sustained by Plaintiff, which such damages are
14 generally and specifically denied to exist, were the result of the active and

15 affirmative wrongful acts, fraud, and omissions to act of Plaintiff and independent

16 third parties and/or entities whose active and affirmative wrongdoing resulted in

17 superseding and intervening causes of Plaintiff’s alleged damages which thereby

18 relieves these responding Defendants from liability. Any damages awarded in this
19 action should therefore be in direct proportion to the fault of these Defendants, if

20 any, as provided by California Civil Code §§1431 to 1431.5.

21                        FOURTH AFFIRMATIVE DEFENSE
22        7.     Plaintiff’s suit is barred by the doctrine of unclean hands.
23                          FIFTH AFFIRMATIVE DEFENSE
24        8.     By the exercise of reasonable effort, Plaintiff could have mitigated the
25 amount of damages, if any there were, but Plaintiff failed and refused, and continues

26 to fail and refuse, to exercise a reasonable effort to mitigate damages and therefore

27 Plaintiff is barred from seeking recovery of those damages.

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     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1                           SIXTH AFFIRMATIVE DEFENSE
 2         9.    Plaintiff’s claim for punitive damages violate these Defendants’ due
 3 process of law rights.

 4                        SEVENTH AFFIRMATIVE DEFENSE
 5         10.   Plaintiff’s claims are barred as a result of Plaintiff’s consent to the acts
 6 and omissions alleged in the Complaint

 7                          EIGHTH AFFIRMATIVE DEFENSE
 8         11.   Plaintiff’s claims are barred by laches.
 9                           NINTH AFFIRMATIVE DEFENSE
10         12.   Plaintiff’s claims for injuries are barred by the two-year statute of
11 limitations. Code Civ. Proc., § 335.1.

12                           TENTH AFFIRMATIVE DEFENSE
13         13.   Defendants have fully performed any and all contractual, statutory, and
14 other duties owed to Plaintiff and third parties (if any), and Plaintiff is therefore

15 estopped to assert any claim for relief against Defendants.

16                       ELEVENTH AFFIRMATIVE DEFENSE
17         14.   The Complaint and each purported claim alleged therein are barred, in
18 whole or in part, by misrepresentations, concealment, and omissions made by
19 Plaintiff and/or third parties to Defendants regarding the alleged transactions, to the

20 detriment of Defendants. Defendants reasonably relied on the foregoing

21 misrepresentations, concealment, and omissions in conforming Defendants’ conduct

22 to all applicable standards and obligations.

23                        TWELFTH AFFIRMATIVE DEFENSE
24         15.   The Complaint and each purported claim alleged therein are barred by
25 the doctrine of waiver.

26                      THIRTEENTH AFFIRMATIVE DEFENSE
27         16.   Plaintiff is estopped by her own actions and conduct from asserting any
28 claim against Defendant.
                                                3
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1                     FOURTEENTH AFFIRMATIVE DEFENSE
 2         17.    Defendants were agents who had no knowledge of, and did not
 3 participate in any fraudulent act of their principals or any enterprise; as such,

 4 Defendants are not vicariously liable for the torts, if any, of said principals or any

 5 enterprise that they may have operated or managed.

 6                       FIFTEENTH AFFIRMATIVE DEFENSE
 7         18.    Defendants had no knowledge or awareness of the essential nature or
 8 scope of any fraudulent enterprise or conspiracy; neither did Defendants have any

 9 intention to facilitate such an enterprise or conspiracy.

10                       SIXTEENTH AFFIRMATIVE DEFENSE
11         19.    Defendants did not knowingly agree to facilitate any scheme that
12 included operation or management of any fraudulent enterprise or conspiracy.

13                    SEVENTEENTH AFFIRMATIVE DEFENSE
14         20.    Defendants, engaged by Plaintiff as real estate agents to procure a
15 tenant for Plaintiff’s property, had no duty to disclose negative financial information

16 about their tenant client to Plaintiff.

17               RESERVATION OF ADDITIONAL AFFIRMATIVE DEFENSES
18         21.    Because Plaintiff’s Complaint against these Answering Defendants is
19 couched in conclusory terms, these Answering Defendants cannot fully anticipate all

20 the affirmative defenses that may be applicable to the within action. Accordingly,

21 the right to assert additional affirmative defenses, if and to the extent that such

22 affirmative defenses are applicable, is hereby reserved.

23                                      CROSSCLAIM
24         Pursuant to Rule 13(g) of the Federal Rules of Civil Procedure, Cross-
25 Claimants file this Crossclaim against Co-Defendants A-Z REALTY &

26 INVESTMENT CORP, DONGYAN (ANNIE) ZHENG, JENNIFER WHELAN,

27 SHI DAN CHEN, and MING-WING LAM and allege as follows:

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                                               4
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1                             JURSIDICTION AND VENUE
 2         22.   This Crossclaim arises out of the transactions and occurrences that are
 3 the subject matter of Plaintiff’s Complaint and on file herein and relates to the

 4 property that is the subject matter of said action. This Court has jurisdiction over

 5 this Crossclaim and the parties to it under 28 USC §1331 and 1343, and Federal

 6 Rule of Civil Procedure, Rule 13.

 7         23.   Venue is proper in this district under 28 USC §1391(b), because (a) the
 8 named defendants reside in this district and appear to be residents of the State of

 9 California, (b) the subject property is located in this judicial district, and (c) a

10 substantial part of the events or omissions giving rise to the claims occurred here.

11                                         PARTIES
12         24.   Plaintiff Mrs. Zhang (“Plaintiff”) is an individual residing in El Monte,
13 California. She is the owner of the Property located at 16 Via Palmieki Court in

14 Lake Elsinore, California, that is the subject of this lawsuit.

15         25.   Defendant and Cross-Claimant Realty One Group, Inc. (“Realty One”)
16 is a California corporation doing business in this judicial district and with its

17 principal place of business located at 23811 Aliso Creek Road, Suite #168, Laguna

18 Niguel, California.
19         26.   Defendant and Cross-Claimant Jihui (Lucky) Luo (“Luo”) is a resident
20 of the State of California who also resides in this judicial district, and a real estate

21 broker licensed by the California Department of Real Estate.

22         27.   Defendant A-Z Realty & Investment Corp is a California corporation
23 doing business in this judicial district and with its principal place of business located

24 at 20455 Ranchito Drive, Perris, California.

25         28.   Defendant Dongyan (Annie) Zheng is a resident of the State of
26 California who also resides in this judicial district, and a real estate broker licensed

27 by the California Department of Real Estate.

28         29.   Defendant Jennifer Whelan is a resident of the State of California who
                                                 5
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1 also resides in this judicial district and a real estate broker licensed by the California

 2 Department of Real Estate.

 3         30.   Defendant Shi Dan Chen (“Chen”) is believed to have been an
 4 unauthorized occupant of the Property, and on information and belief, is a resident

 5 of the State of California and resides in this judicial district.

 6         31.   Defendant Ming-Wing Lam (“Lam”) is believed is believed to have
 7 been an unauthorized occupant of the Property, and on information and belief, is a

 8 resident of the State of California and resides in this judicial district.

 9                                           FACTS
10         32.   Plaintiff is the owner of 16 Via Palmieki Ct., Lake Elsinore, CA 92532-
11 0146 (“Property”). A-Z Realty entered into the pertinent Property Management

12 Agreement with Plaintiff on or about February 1, 2017, to manage the Property.

13         33.   A-Z Realty represented Plaintiff in the purchase of the Property in
14 2009. The Property is a large single-family home (approximately 3,800 square feet)

15 in Lake Elsinore. Plaintiff never occupied the Property herself. Plaintiff, her son,

16 and her husband made all decisions collectively and are all shrewd business people

17 fully capable of knowing what they were doing.

18         34.   On or about February 11, 2018, an application was received from
19 Miaoyun Wu and Xin Li through their agent, Luo, working for Realty One Group.

20 Plaintiff reviewed the applications and was satisfied.

21         35.   On the rental application materials submitted to Luo, Wu and Li
22 indicated they were restaurant owners in Los Angeles and were opening a restaurant

23 in the Lake Elsinore area. Luo and Realty One Group had no reason to suspect the

24 rental application submitted was false or that anything was amiss.

25         36.   On or about February 21, 2017, Miaoyun Wu and Xin Li entered into a
26 year-long lease agreement with Plaintiff. Tenants were to pay $5,000.00 security

27 deposit upfront and $2,500.00 per month thereafter.

28         37.   Unbeknownst to Realty One Group and Luo, Ms. Zheng began to
                                                6
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1 suspect that this property was being used to grow marijuana. Ms. Zheng called

 2 Plaintiff and told her about her concerns and their interactions regarding the

 3 property are contained within Plaintiff’s complaint along with their allegations as to

 4 the true identity of the persons renting the property (Defendants Chen and Lam).

 5                            FIRST CLAIM FOR RELIEF
 6                        Equitable Indemnity and Contribution
 7                             (Against All Co-Defendants)
 8        38.    Cross-Claimants hereby re-allege and incorporate the allegations in all
 9 prior paragraphs as though fully set forth herein.

10        39.    Cross-Claimants by way of this Crossclaim against all Co-Defendants
11 claim that to the extent that Plaintiff is somehow able to recover for any of the

12 money alleged in the Complaint from Cross-Claimants, Cross-Claimants hereby

13 allege that such losses alleged by Plaintiff are the responsibility of Co-Defendants.

14        40.    Cross-Claimants allege that in equity, said Co-Defendants, by virtue of
15 their wrongful conduct, are obligated jointly and severally to completely indemnify

16 Cross-Claimants for any amount owed by Cross-Claimants and therefore seek an

17 order from the Court for indemnity and contribution.

18                            FIRST CLAIM FOR RELIEF
19                        Equitable Indemnity and Contribution
20                             (Against All Co-Defendants)
21        41.    Cross-Claimants hereby re-allege and incorporates the allegations in all
22 prior paragraphs as though fully set forth herein.

23        42.    To the extent that Plaintiff is somehow able to recover for any of the
24 money alleged in the Complaint from Cross-Claimants, Cross-Claimants hereby

25 allege that such losses alleged by Plaintiff are the responsibility of Co-Defendants.

26        43.    Cross-Claimants allege that they are innocent of any wrongdoing.
27        44.    Cross-Claimants allege that all amounts which Cross-Claimants may be
28 required to pay to Plaintiff as alleged in the Complaint were necessitated entirely, or
                                              7
     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1 in part, by the conduct of Co-Defendants. Cross-Claimants therefore seeks an order

 2 from the Court for indemnity and contribution.

 3                               PRAYER FOR RELIEF
 4        WHEREFORE, Defendants and Cross-Claimants pray
 5        1.    That Plaintiff take nothing by way of the Complaint:
 6        2.    That Defendants and Cross-Claimants demand judgment by way of
 7 indemnity against all Co-Defendants together with interest, costs of suit and

 8 attorney’s fees;

 9        3.    That Defendants and Cross-Claimants be awarded such other and
10 further relief as the Court deems just and proper; and

11        4.    That the Court grant such additional relief as is just and equitable.
12

13 DATED: July 20, 2020                      Respectfully submitted,
14                                           LYNBERG & WATKINS
                                             A Professional Corporation
15

16
                                       By: /s/ Tamara M. Heathcote
17                                         S. FRANK HARRELL
                                           TAMARA M. HEATHCOTE
18                                         Attorneys for Defendants, REALTY ONE
                                           GROUP, INC. and JIHUI (LUCKY) LUO
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     DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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 1                             DEMAND FOR JURY TRIAL
 2            PLEASE TAKE NOTICE that Defendants hereby demand a trial by jury on
 3 all issues pursuant to the Seventh Amendment and Fed.R.Civ.Proc. 38.

 4

 5 DATED: July 20, 2020                     Respectfully submitted,
 6                                          LYNBERG & WATKINS
                                            A Professional Corporation
 7

 8
                                       By: /s/ Tamara M. Heathcote
 9                                         S. FRANK HARRELL
                                           TAMARA M. HEATHCOTE
10                                         Attorneys for Defendants, REALTY ONE
                                           GROUP, INC. and JIHUI (LUCKY) LUO
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12   4829-8293-2675, v. 1

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      DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
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   Case Name: Zhang v. A-Z Realty & Investment, et al.
   Case No.: 5:19-cv-00887-VAP-KK
 1                            PROOF OF SERVICE
 2       STATE OF CALIFORNIA, COUNTY OF ORANGE

 3       I am employed in the County of Orange, State of California. I am over the age of
   18 and not a party to the within action. My business address is 1100 Town & Country
 4 Rd., Suite 1450, Orange, California 92868.
 5
         On July 20, 2020, I served the foregoing document(s) described as
 6 DEFENDANTS REALTY ONE GROUP, INC. AND JIHUI (LUCKY) LUO’S
 7 FIRST AMENDED ANSWER TO COMPLAINT, CROSS-CLAIM AND
   DEMAND FOR JURY TRIAL on the interested parties by placing a true copy
 8 thereof enclosed in sealed envelopes addressed as follows:
 9
                             SEE ATTACHED SERVICE LIST
10
11
            BY MAIL: As follows: I am "readily familiar" with the firm's practice of
12          collection and processing correspondence for mailing. Under that practice, I
13          deposited such envelope in the mail at Orange, California.

14   Z1     BY E-SERVE: The above listed document(s) were electronically served via
            the USDC Central District’s CM/ECF system and the Notice of Electronic
15          Filing (NEF) indicates the registered party and/or attorney were served with
            the above documents.
16
            BY ELECTRONIC MAIL: I caused all of the pages of the above-entitled
17          document to be sent to the recipient(s) noted at the respective email
            address(es) indicated.
18
            BY FACSIMILE: I caused all of the pages of the above-entitled document
19          to be sent to the recipient(s) noted via facsimile at the respective telephone
            numbers indicated above.
20
21          BY FEDERAL EXPRESS/OVERNIGHT MAIL: I caused the above-
            described document to be served on the interested parties noted as follows by
22          Federal Express/Overnight Mail.
23
        I declare that I am employed in the office of a member of the bar of this court at
24 whose direction the service was made.
25      Executed on July 20, 2020, at Orange, California.
26
27                                               /s/ Olivia Banke
28                                          OLIVIA BANKE

                                               i
                                      PROOF OF SERVICE
Case 5:19-cv-00887-KK Document 77 Filed 07/20/20 Page 12 of 12 Page ID #:452




 1                                   SERVICE LIST
 2
 3   Scott B. Lieberman, Esq.                      John Mansour, Esq.
     FINLAYSON TOFFER ROOSEVELT                    S. Candelas, Esq.
 4    & LILLY LLP                                  8280 Utica Avenue, Suite 150
 5   15615 Alton Parkway, Suite 250                Rancho Cucamonga, CA 91730
     Irvine, CA 92618                              T: (909) 941-1611
 6   T: (949) 759-3810                             F: (909) 941-1811
 7   F: (949) 759-3812                             john@mansourlawgroup.com
     slieberman@ftrlfirm.com                       steven@mansourlawgroup.com
 8   kroosevelt@ftrlfirm.com
                                                   Counsel for Defendant
 9
     Counsel for Plaintiff                         A-Z Realty & Investment Corp.
10   SHUANG YING (NANCY) ZHANG
     Yuan Li, Esq.                                 Gregory Williams Patterson
11
     DEMIDCHIK LAW FIRM PC                         Gregory W Patterson Law Offices
12   923 E. Valley Boulevard, Suite 268            1230 Rosecrans Avenue, Suite 300
     San Gabriel, CA 91776                         Manhattan Beach, CA 90266
13   T: 626-317-0033                               T: 310-376-0010
14   F: 212-810-1257                               greg@gwppc.com
     bill@demidchiklawfirm.com
15
                                                   Counsel for Defendant
16   Counsel for Defendant                         Ming-Wing Lam
     Shi Dan Chen
17
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                                     PROOF OF SERVICE
